                              NO. 07-10-00487-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL A
                                       
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JANUARY 25, 2011
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              IN THE INTEREST OF T.L.C.G. AND T.M.C.G., CHILDREN
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                FROM THE 320TH DISTRICT COURT OF POTTER COUNTY;
                                       
                 NO. 49,888-D; HONORABLE DON R. EMERSON, JUDGE
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Before CAMPBELL and HANCOCK and PIRTLE, JJ.


                              MEMORANDUM OPINION
                                       
Appellant, Tony Wayne Gindratt, filed a notice of appeal of an Order in Suit to Modify Parent-Child Relationship.  By letter dated December 2, 2010, Gindratt was notified that, among other things, a filing fee of $175 had not been paid, noting that failure to do so within ten days could result in dismissal pursuant to Texas Rule of Appellate Procedure 42.3(c).  No fee having been received within the deadline, by letter dated December 16, 2010, Gindratt was again advised of the outstanding filing fee and the consequences of failing to pay.  He was also specifically notified of and given the opportunity to, in lieu of paying the filing fee, file an affidavit of indigence on or before January 17, 2011.  See Tex. R. App. P. 44.3; see also Higgins v. Randall County Sheriff's Office, 193 S.W.3d 898 (Tex. 2006) (holding that a court of appeals can dismiss an appeal for noncompliance only after allowing a reasonable time to correct a defect).  Despite two notices and a reasonable time in which to comply with this Court's request, Gindratt has failed to respond. Consequently, this Court is authorized to dismiss this appeal.
Accordingly, the appeal is dismissed.


								Mackey K. Hancock
									Justice

